                                                                                            U.S. DISTRICT COURT
                Case 4:15-cv-00863-A Document 1 Filed 11/12/15                 Page 1 of 3 PageID
                                                                                  UH~THERN        1 OF TEXAS
                                                                                             DISTRICT
       c..:r)                  UNITED STATES DISTRICT C
                            FOR THE NORTHERN DISTRICT                               <
                                                                                          ~s-F"-'I=L=ED=--,
                                                                                        TEA
ORIGINAL                                                                                      NOV i 2 2015


 M ,..IItl,
~r>
                v   oJ().,,
                                                                                         CLERK, U.S. DISTRICT COURT
                                                                                          By         ~~
                                                                                                    Deputy



v.
                                                                            Civil Action No.


Defendant


                                MOTION FOR THE APPOINTMENT OF COQNSEL

I request that the Court appoint an attorney to represent me in the matter cited above. In support of this motion I have
attached the following:

       I. An affidavit relating to my ability to pay costs and fees.
       2. Other material, if any.




I have made the following efforts to obtain counsel from legal aid or legal services organizations or individual
attorneys without payment of a fee or on a contingent fee basis, and have been unable to obtain the services of
counsel:




Date

Signature

Print Name

Address



Telephone
Case 4:15-cv-00863-A Document 1 Filed 11/12/15   Page 2 of 3 PageID 2




                                                        \
Case 4:15-cv-00863-A Document 1 Filed 11/12/15                               Page 3 of 3 PageID 3

                   FROM:

                         J\;1 al,t!_ Vt:t ;r{L
                        IOD CtmCt~tcl'l< LiJ. f2cl· 335
                        JJtAb{)n, l)< /?;LIL/(,



                 fill !lofYb.rzf'll~.                               Retail

                                           US POSTAGE PAID

                  Oiigin: 75446
                                             $2.74
                  Oe>tiMtien: 76102
                  0 Lb 3.90 Ol
                  NI}V !(!, 1S
                  4626200446*01
                                                      1022

                                 USPS FIRST·CLASS MAIL®

                                                                jC024l

                                  USPS TRACKING NUMBER




                                      9500 1111 5441 5314 0170 56


                 8 1/2"               X   12"
           I.
           ~·
           R·




                                                                                                    '
